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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
MAURICE BERRY,                )                      ORDER
                              )
               Defendants.    )
______________________________)


           IT IS ORDERED that the hearing on plaintiff’s Rule

35(b) motion (Filing No. 86) is rescheduled in OMAHA for:

                Friday, October 7, 2005, at 11 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       Defendant need not be

present.

           DATED this 8th day of September, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
